      Case 3:08-cv-00780-CWR-LRA Document 233 Filed 05/04/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISISSIPPI
                               NORTHERN DIVISION

 THE STATE OF MISSISSIPPI EX REL.                  )
 JIM HOOD, ATTORNEY GENERAL                        )
 FOR THE STATE OF MISSISSIPPI,                     )
                                                   )
 Plaintiff-Counterclaim Defendant,
                                                   )
 v.                                                )
 ENTERGY MISSISSIPPI, INC., ENTERGY                )
 CORPORATION, ENTERGY SERVICES,                    )
 INC., AND ENTERGY POWER, INC.,                    )
                                                            No. 3:08-CV-780-CWR-LRA
                                                   )
 Defendants-Counterclaim Plaintiffs.


                                         ORDER

       On May 3, 2018, the Court held a Telephonic Discovery Conference. The Court

having heard arguments from the Parties regarding five discovery issues, rules as follows:

       On April 26, 2018 Plaintiff served Rule 30(b)(6) deposition notices on Entergy

Corporation (Doc. 225) and Entergy Mississippi, Inc. (Doc. 226). Pursuant to L.U.CIV.R.

37 and Fed. R. Civ. P. 26(b)(1), (c)(1), the Entergy Defendants have objected to and seek

a protective order from the Court quashing or limiting the following topics in both notices:

             III.1. Document retention policies for Entergy Corporation, Entergy
       Services, Inc. and Entergy Mississippi, Inc.;

              III.2. Litigation hold policies, in particular, regarding documents
       pertaining to this litigation;

             III.3. Responsive and potentially responsive documents that have
       been destroyed by Entergy Corporation, Entergy Services, Inc. and/or
       Entergy Mississippi, Inc. during the pendency of this litigation;




                                             1
        Case 3:08-cv-00780-CWR-LRA Document 233 Filed 05/04/18 Page 2 of 2



                 III.4. Code of Integrity and/or Code of Conduct for Entergy officers,
          directors, etc.;1 and

                  III.5.   Drafting and lobbying efforts regarding SB 2295.

          The Court orders that questioning on Topics III.1, 2, and 3 shall be limited

consistent with the following:

          a. Have the retention policies been followed?

          b. Was a legal hold issued for this case?

          c. Was the legal hold for this case followed?

          d. Is the Company aware of any relevant documents that were destroyed after
             issuance of the legal hold for this case?

          e. What was the process to be followed if relevant documents were destroyed
             after the issuance of the legal hold for this case and was that process followed?

          The Court also orders that reasonable follow up questions on the above are

permitted.

          The Court further orders briefing on Topic III.5. The parties shall simultaneously

submit briefing to the Court on or before Monday, May 7, 2018 at 12:00 p.m.

          SO ORDERED, this the 4th day of May, 2018.



                                                      S/ Linda R. Anderson_______________
                                                 UNITED STATES MAGISTRATE JUDGE




1
    The Parties have reached a compromise on Topic III.4.
                                                    2
